William C. Kind and Helene Kind, Petitioners v. Commissioner of Internal Revenue, RespondentKind v. CommissionerDocket No. 6386-67United States Tax Court54 T.C. 600; 1970 U.S. Tax Ct. LEXIS 179; March 25, 1970, Filed *179 Decision will be entered for the petitioners.  On May 31, 1962, petitioner had his wholly owned corporation liquidated, and he thereafter operated its business as a sole proprietorship. For reasons arising subsequent to the liquidation, petitioner created a new corporation on Jan. 2, 1963, transferring to it the operating assets of the proprietorship. Held, the distribution to petitioner of the assets of the original corporation was in complete liquidation thereof within the meaning of sec. 331(a), I.R.C. 1954, and is not taxable as a dividend under sec. 301, I.R.C. 1954, or as "boot" arising out of a reorganization defined in sec. 368(a) (1)(D) or (F), I.R.C. 1954.  Allan Bakst, for the petitioners.James Q. Smith, for the respondent.  Featherston, Judge.  FEATHERSTON*601  Respondent determined a deficiency in petitioners' income tax for 1962 in the amount of $ 4,771.86.  The sole issue presented for decision is whether certain assets were received by petitioners in 1962 as a distribution in complete liquidation of a corporation, taxable as capital gain, or as a dividend, taxable as ordinary income.FINDINGS OF FACTPetitioners William C. and Helene Kind, husband and wife, were legal residents of New York, N.Y., at the time their petition was filed.  They filed a joint Federal income tax return for 1962 with the district director of internal revenue, Manhattan*182  District, New York, N.Y.  William C. Kind will hereinafter be referred to as petitioner.In 1918 petitioner's father, Constantine Kind, opened a florist shop at 100 West 28th Street, New York City.  On May 29, 1947, Constantine incorporated the business as C. Kind &amp; Co., Inc. (hereinafter Kind I or the original corporation).  On November 25, 1958, Kind I made an election under subchapter S of the Internal Revenue Code of 1954 not to be subject to the Federal income tax.  Constantine consented to the election on the same date.Petitioner commenced working in his father's business in 1948 at the age of 18.  He was engaged almost exclusively in sales promotion, while Constantine personally handled other aspects of the business.Constantine died on May 19, 1960.  Prior to his death, in 1959, he had transferred 60 percent of the outstanding stock of Kind I to petitioner as a gift.Constantine's will, dated July 16, 1959, made minor bequests to nephews and nieces and specific monetary bequests to his two daughters (petitioner's half-sisters) and left the rest of his estate, including the remaining 40 percent of the outstanding stock of Kind I, to petitioner.  The will also named petitioner*183  and William M. Waldman as coexecutors of the estate.Petitioner's half-sisters filed objections to the probate of the will on September 9, 1960.  Petitioner entered into a settlement with them on December 7, 1960, whereby he paid each of them $ 3,500 in exchange *602  for their execution of general releases in his favor, personally and as executor.After his father's death petitioner met with his attorney, William M. Waldman, and his accountant, Harry A. Klein, to discuss the idea of liquidating Kind I and operating the business as a sole proprietorship. Petitioner was partially motivated to liquidate the corporation by the fact that his half-sisters were threatening to assert claims against it -- the releases they had executed did not run to the corporation -- and he thought that terminating Kind I's existence would help to frustrate their claims, since they had executed the general releases in his favor.  However, it was decided to delay implementation of the liquidation until the estate, including any Federal estate tax liability, was settled.  On May 1, 1962, petitioner was notified by the Internal Revenue Service that the estate tax return had been accepted as filed.Petitioner*184  met with his attorney and accountant in May 1962, and plans were drawn for the liquidation of Kind I. On May 22, 1962, petitioner as sole proprietor executed and filed with the county clerk of New York County a certificate of doing business as C. Kind &amp; Co., in which petitioner certified that he was "successor in interest to C. Kind &amp; Co. Inc., in process of dissolution."The assets and liabilities of Kind I as of May 31, 1962, were as follows:Assets:Cash$ 19,222.12Net accounts receivable13,631.49Inventory1,237.03Mortgage note receivable3,212.48Other assets (furniture, fixtures, autos, trucks,prepaid insurance, etc.)11,863.92Total$ 49,167.04Liabilities:Accounts payable11,108.41Taxes payable2,019.44Other liabilities155.00Capital stock12,000.00Earned surplus23,884.19Total49,167.04On or about May 31, 1962, petitioner had Kind I transfer all of its assets and liabilities to him; he notified all creditors that he would henceforth do business as C. Kind &amp; Co., a sole proprietorship; and new bank accounts, insurance policies, vehicle registrations, and local tax certificates were obtained in the name*185  of the proprietorship.*603  On November 1, 1962, Kind I filed a final income tax return which stated on its face that it was for the period from January 1, 1962, to October 31, 1962.  However, the return actually reported operations only for the 5-month period ending May 31, 1962.  Kind I was finally dissolved on December 20, 1962.Petitioner operated the florist shop after May 31, 1962, as a sole proprietorship. Aside from the form of the organization, the business of the proprietorship was the same in all respects as that of Kind I; there was no change in the customers, location, telephone, or personnel.During July 1962 petitioner became interested in a new product as a result of discussions with a friend and former customer. The product was a new variety of plant food or fertilizer, which had produced remarkable results in plants grown indoors, and petitioner decided to investigate the feasibility of manufacturing and marketing it as an adjunct to his florist business.  After consultation with his attorney and his accountant, petitioner decided in November 1962 that, in view of the risks and size of the proposed undertaking, it was advisable to operate again in corporate*186  form. As a result of this decision, on December 6, 1962, petitioner and his wife executed articles of incorporation for C. Kind &amp; Co., Inc. (hereinafter Kind II or the new corporation).  Corporate papers were filed with the Department of State, State of New York, and the organization of the new corporation was completed on January 2, 1963.  On the same date petitioner transferred the assets and liabilities of the florist business to Kind II in exchange for all of its stock. The assets and liabilities received by Kind II were as follows:Assets:Cash$ 4,595.05Net accounts receivable18,566.89Inventory852.60Other assets (furniture, fixtures, autos, trucks,prepaid insurance, etc.)7,207.84Total$ 31,222.38Liabilities:Accounts payable12,425.67Taxes payable and other liabilities1,796.71Capital stock17,000.00Total31,222.38On January 10, 1963, Kind II filed an election under subchapter S. Petitioner filed a timely consent to the election.*604  In their joint Federal income tax return for 1962 petitioners reported receipts of $ 35,884.19 from the liquidation of Kind I, from which sum they subtracted $ 31,560.89*187  as their basis for their stock, thus resulting in a gain of $ 4,323.30.  This latter sum was then reduced by one-half to reflect its long-term capital gain character.  They further reported net profit of $ 5,910.44 from the operation of the florist business as a sole proprietorship.In the notice of deficiency respondent determined that petitioners "received a dividend distribution from C. Kind &amp; Co., Inc. during the year 1962 in the amount of $ 18,884.19," allowed a dividend exclusion of $ 50, and made an appropriate adjustment to the capital gain reported in petitioners' return.ULTIMATE FINDINGS OF FACTKind I was completely liquidated on or about May 31, 1962.  At the time of liquidation petitioner had no plan or intention of subsequently operating his florist business in corporate form.OPINIONSection 331(a)(1)1 provides that amounts distributed in complete liquidation of a corporation "shall be treated as in full payment in exchange for the stock." The effect of this provision is to tax the gain included in a distribution on the liquidation of a corporation at capital gain rates if the stock was held for more than 6 months.  Secs. 1201, 1222.  In contrast, section 316(a) *188  broadly defines the term "dividend" to include "any distribution of property made by a corporation to its shareholders" out of its earnings and profits, and section 301(c)(1) provides that any distribution which is a "dividend" shall be "included in gross income," i.e., taxed at ordinary rates.The problem here presented is to determine in which category -- liquidating or dividend distributions -- the assets received by petitioner from Kind I but not transferred by him to Kind II fit.  We conclude that they were distributions in liquidation of Kind I.Respondent bases his contention that the retained assets constituted dividend distributions upon alternative grounds.  First, he maintains that Kind I was never liquidated within the meaning of section 331 since the business was continued under petitioner's ownership, first as a sole proprietorship and later as Kind II.  Alternatively, respondent urges that the purported*189  liquidation was only one step in a larger transaction which, when considered as a whole, constituted a reorganization under section 368(a)(1)(D) or (F), *605  and the retained assets are, therefore, to be treated as "boot" under section 356, undiminished by petitioner's basis for his Kind I stock.As to respondent's first argument, neither the Code nor the regulations define the term "liquidation." The law is settled, however, that the question of whether a corporation has been liquidated is one of fact.  Genecov v. United States, 412 F. 2d 556, 562 (C.A. 5, 1969); Transportation Service Associates, Inc. v. Commissioner, 149 F.2d 354"&gt;149 F. 2d 354, 355 (C.A. 3, 1945), affirming a Memorandum Opinion of this Court.  In deciding this factual issue, the inquiry is not whether the corporation was formally dissolved under State law, Pridemark, Inc. v. Commissioner, 35"&gt;345 F. 2d 35, 41 (C.A. 4, 1965), affirming in part and reversing in part 42 T.C. 510"&gt;42 T.C. 510 (1964); Wier Long Leaf Lumber Co. v. Commissioner, 173 F. 2d 549, 551 (C.A. 5, 1949), *190  affirming in part and reversing in part 9 T.C. 990"&gt;9 T.C. 990 (1947), but whether the corporation intended to and actually did wind up its affairs, gather its resources, settle its liabilities, cease engaging in business activity, and distribute its remaining assets to its shareholders. "There must be a manifest intention to liquidate and a continuing purpose to terminate and dissolve the corporation.  Its activities must be directed to that end." Beretta v. Commissioner, 141 F. 2d 452, 454 (C.A. 5, 1944), affirming 1 T.C. 86"&gt;1 T.C. 86 (1942), certiorari denied 323 U.S. 720"&gt;323 U.S. 720 (1944).Turning to the facts of the present case, the record shows that Kind I was completely liquidated on May 31, 1962.  Acting through petitioner, its sole shareholder, the corporation quite clearly intended to, and did, wind up its affairs and distribute its surplus, ceasing all active business on that date.  Petitioner succeeded to ownership of all of the assets, including the going florist shop business, subject to outstanding liabilities.  He notified creditors of the change of ownership, established new business*191  bank accounts, adopted a new form for billing customers, and changed existing insurance policies, vehicle registrations, and local tax certificates to reflect the new ownership. For 7 months he operated the business as a sole proprietorship without the protection of a corporate umbrella.  In view of these objective facts, we give no weight to petitioner's failure to introduce into evidence the formal resolution to liquidate the corporation or to establish its precise contents.  See Alameda Realty Corporation, 42 T.C. 273"&gt;42 T.C. 273, 281 (1964); Genecov v. United States, supra at 562; cf. Beretta v. Commissioner, supra at 454. His failure to do so was adequately explained.  2*192 *606   Respondent argues that a valuable asset -- the corporate name and the goodwill attached thereto -- remained in "corporate solution," since Kind I was not formally dissolved and its charter and name canceled until Kind II, with a similar name, was created.  But the goodwill of Kind I's florist shop did not remain in the lifeless hulk of the corporate shell.  It was effectively transferred to the sole proprietorship, which succeeded to Kind I's management, employees, business location, and style of business.  In addition, the proprietorship also acquired what doubtless was the single most valuable component of the corporation's goodwill -- petitioner's personal relationships with Kind I's major customers, resulting from his almost exclusive attention to sales promotion throughout his association with the business.  We are satisfied that no significant assets remained in Kind I.Mixing his alternative arguments together, respondent relies upon sections 1.301-1(l)3 and 1.331-1(c) 4 of the Income Tax Regulations. He contends that where the operating assets of a "liquidated" corporation are eventually transferred to a second corporation owned by the same shareholder(s), a *193  true liquidation does not occur.  Instead, he suggests, the net result is a retention of the operating assets in corporate solution through a reorganization, while the nonoperating assets (such as cash) are distributed to the shareholder(s) in a separate transaction which is the "equivalent and essence" of a dividend under section 301.*194 Without attempting to determine the reach of the vague language of these regulations 5 or to resolve the effect thereon of the specific provisions of section 331(b), 6 we do not think the regulations aid respondent's cause.  Cf. Simon v. United States, 402 F. 2d 272, 278 (Ct. Cl. 1968).Regulations section 1.301-1(l) refers to a transaction which "takes place at the same time as another transaction" and section 1.331-1(c)*607  to a "liquidation which is followed by a transfer to another corporation." Cf. Davant v. Commissioner, 366 F. 2d 874, 882-883*195  (C.A. 5, 1966), affirming in part and reversing in part 43 T.C. 540"&gt;43 T.C. 540 (1965). However, we are convinced that the distribution in May 1962 of the assets not subsequently transferred to Kind II was not to any extent separate from the liquidation, but was an integral part of it.  See Commissioner v. Berghash, 361 F. 2d 257 (C.A. 2, 1966), affirming 43 T.C. 743"&gt;43 T.C. 743 (1965); Estate of Henry P. Lammerts, 54 T.C. 420 (1970); Joseph C. Gallagher, 39 T.C. 144"&gt;39 T.C. 144, 158-159 (1962). And what transpired here certainly was not merely a "formal liquidation * * * followed instanter by a prearranged reincorporation." Estate of Henry P. Lammerts, supra at 449 (dissenting opinion).  To the contrary, as discussed above, on May 31, 1962, Kind I was liquidated both in form and substance; and Kind II was created for reasons which did not exist on that date.  It is true that our conclusion results in taxing as capital gain the distribution of Kind I's accumulated earnings and profits.  But this is a natural, statutorily approved consequence*196  of a genuine liquidation. See United States v. Cumberland Pub. Serv. Co., 338 U.S. 451"&gt;338 U.S. 451 (1950).If the liquidation of Kind I and the formation of Kind II could be considered parts of the same transaction -- i.e., if a "plan of reorganization" existed from the outset -- we would have no difficulty in fitting that transaction within the definition of a reorganization under section 368(a)(1)(D) or (F) 7*197  and holding that the retained assets are to be treated as "boot." Secs. 354 and 356.  8 But the only *608  conceivable basis for finding a plan of reorganization here would be the fact that the second corporation followed the first, and this objective fact alone is insufficient to show that the subsequent incorporation was the result which petitioner sought when he began these transactions.  Charles R. Mathis, Jr., 1123"&gt;19 T.C. 1123 (1953), acq. 2 C.B. 5"&gt;1953-2 C.B. 5.There is ample, uncontradicted, evidence that petitioner had no intention to reincorporate at the time*198  of the liquidation of Kind I, or for months thereafter.  The evidence is overwhelming that petitioner intended in May 1962 to carry on the florist business in noncorporate form for the foreseeable future.  It was only as a result of petitioner's subsequent introduction to an entirely new product that, on the advice of his accountant and lawyer and in the light of the greater financial risks, he decided in November 1962 to do business in the corporate form. These facts make it clear that Kind I's liquidation and Kind II's incorporation were not interdependent steps in a single, integrated transaction.Since we have found that petitioner did not intend to establish a new corporation at the time the original corporation was liquidated, it cannot be said that the transfer of assets to the new corporation was in pursuance of a plan of reorganization. See Charles R. Mathis, Jr., supra at 1128-1129; Simon v. United States, supra at 279. Given the intent to reorganize, a formal plan need not be adopted.  But given the lack of such intent, a plan cannot be manufactured by afterthought.  See, e.g., Peeler Hardware Co., 5 T.C. 518"&gt;5 T.C. 518 (1945),*199  affd. 155 F. 2d 974 (C.A. 5, 1946).  9Consistent with the foregoing conclusions,Decision will be entered for the petitioners.  Footnotes1. All section references are to the Internal Revenue Code of 1954, as amended, unless otherwise noted.↩2. The attorney who had custody of the minute and stock transfer books died, and a search of the office which he had occupied, as well as of a warehouse in which some of his papers had been stored, failed to locate them.  However, we note that petitioner did introduce a letter, dated May 18, 1962, to the attorney from his accountant, requesting among other things that he prepare the "resolution to liquidate and transfer all assets, subject to all liabilities, to the sole stockholder in exchange for outstanding certificates of stock."↩3. Sec. 1.301-1 Rules applicable with respect to distributions of money and other property.(1) Transactions treated as distributions.  A distribution to shareholders with respect to their stock is within the terms of section 301↩ although it takes place at the same time as another transaction if the distribution is in substance a separate transaction whether or not connected in a formal sense.  This is most likely to occur in the case of a recapitalization, a reincorporation, or a merger of a corporation with a newly organized corporation having substantially no property.  * * *4. Sec. 1.331-1 Corporate liquidations.(c) A liquidation which is followed by a transfer to another corporation of all or part of the assets of the liquidating corporation or which is preceded by such a transfer may, however, have the effect of the distribution of a dividend or of a transaction in which no loss is recognized and gain is recognized only to the extent of "other property." See sections 301 and 356↩.5. For a critical analysis of these provisions, see Lane, "The Reincorporation Game: Have the Ground Rules Really Changed?" 77 Harv. L. Rev. 1226"&gt;77 Harv. L. Rev. 1226↩-1231 (1964).6. SEC. 331.  GAIN OR LOSS TO SHAREHOLDERS IN CORPORATE LIQUIDATIONS.(b) Nonapplication of Section 301.  -- Section 301↩ (relating to effects on shareholder of distributions of property) shall not apply to any distribution of property in partial or complete liquidation.7. SEC. 368.  DEFINITIONS RELATING TO CORPORATE REORGANIZATIONS.(a) Reorganization. -- (1) In general.  -- For purposes of parts I and II and this part, the term "reorganization" means -- * * * *(D) a transfer by a corporation of all or a part of its assets to another corporation if immediately after the transfer the transferor, or one or more of its shareholders (including persons who were shareholders immediately before the transfer), or any combination thereof, is in control of the corporation to which the assets are transferred; but only if, in pursuance of the plan, stock or securities of the corporation to which the assets are transferred are distributed in a transaction which qualifies under section 354, 355, or 356;* * * *(F) a mere change in identity, form, or place of organization, however effected.↩8. SEC. 354. EXCHANGES OF STOCK AND SECURITIES IN CERTAIN REORGANIZATIONS.(a) General Rule.  -- (1) In General.  -- No gain or loss shall be recognized if stock or securities in a corporation a party to a reorganization are, in pursuance of the plan of reorganization, exchanged solely for stock or securities in such corporation or in another corporation a party to the reorganization.Sec. 356(a)(1) amplifies the general rule of sec. 354(a)(1) as follows:SEC. 356. RECEIPT OF ADDITIONAL CONSIDERATION.(a) Gain on Exchanges.  -- (1) Recognition of gain.  -- If -- (A) section 354 or 355 would apply to an exchange but for the fact that(B) the property received in the exchange consists not only of property permitted by section 354 or 355 to be received without the recognition of gain but also of other property or money,then the gain, if any, to the recipient shall be recognized, but in an amount not in excess of the sum of such money and the fair market value of such other property.↩9. Having concluded that there was no reorganization under either sec. 368(a)(1)(D) or (F), we do not reach respondent's contention that sec. 356↩ does not command that petitioner's gain be reduced by his basis in the stock of the reorganized corporation.